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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 DB, A MINOR, BY HIS NEXT FRIEND AND
 MOTHER, ELIZABETH B.,

                                Plaintiffs,
 v.                                                       CIVIL ACTION
                                                          NO. 1:10-cv-10897 (FDS)
 SUTTON SCHOOL DISTRICT, SUTTON
 SCHOOL COMMITTEE AND
 MASSACHUSETTS DEPARTMENT OF
 ELEMENTARY AND SECONDARY
 EDUCATION,

                                Defendants.



  PLAINTIFFS’ REQUEST FOR AWARD OF REASONABLE ATTORNEY’S FEES AND
    COSTS AND REIMBURSEMENT AS AWARDED BY THE HEARING OFFICER


       Now come Plaintiffs and move this Honorable Court for an award of attorney’s fees as to

that part of the Hearing Officer’s decision whereby Parents were prevailing parties, and for

reimbursement per the Hearing Officer’s decision in BSEA 09-7983 as affirmed by the 4/30/13

Judgment of this Court, as set forth in greater detail below.

       Plaintiffs move, pursuant to 20 U.S.C. §1415(i)(3)(B), which states: “In any action or

proceeding brought under this section, the court, in its discretion, may award reasonable

attorneys’ fees as part of the costs— (I) to a prevailing party who is the parent of a child with a

disability ”, (emphasis added), for an award of attorney’s fees in this matter. Plaintiffs also

move, pursuant to the 4/30/13 Judgment of this Court affirming the decision of the Hearing

Officer in BSEA no. 09-7983, for reimbursement of services and expenses expended in

providing an education to D.B. with respect to tutoring costs, occupational therapy costs, and


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enumerated toileting instruction costs.1 This reimbursement includes academic tutoring services

provided by Rebecca Ronstadt and Yasmeen Bressner, Occupational Therapy services provided

by Project Chilld, travel required to provide these services, and toileting services provided by

Gregory Paquette of ICCD. BSEA Hearing Decision 09-7983 at pp. 39-41. The Hearing

Officer’s decision issued on 1/26/10. Rather than complying with the Hearing Officer’s order of

Reimbursement, Sutton challenged and appealed that Decision and Order, which challenge and

appeal this Court has found to be without merit. Accordingly, Plaintiffs move this Honorable

Court to allocate interest as to the reimbursement from the date of the Hearing Officer’s order, or

1/26/10. Insofar as Sutton chose to appeal the Hearing Officer’s opinion and did not prevail,

plaintiffs’ attorney’s fees incurred in defense against this appeal are also sought.

       This Court affirmed the decision of the Hearing Officer awarding reimbursement for

services and expenses incurred by Parents. The IDEA specifically enumerates attorney’s fees to

prevailing Parents as “costs”. To deny Parents’ attorney fee petition would be contrary to the

Hearing Officer’s decision and the Court’s order affirmation of that decision.

       Reimbursement, as supported by the attached Exhibits A-1 to A-4 is:

       (A)     Rebecca Ronstadt Tutoring:             $16,345.00
               Travel (Sutton to Lexington):          $ 9,852.30 (31 days x 90 miles RT at .485 x
                                                      90 (2007 rate); (187 days x 90 miles
                                                      RT at .505 (2008 rate))

       (B)     Yasmeen Bressner Tutoring:             $ 1,720.00
               Travel (Sutton to Lexington):          $ 990.90 (22 x 90 miles RT x .505)

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 “Sutton shall reimburse Parents for all out-of-pocket expenses relative to their privately
providing academic tutoring services to Student from 10/25/07 through 10/26/08.
Sutton shall reimburse Parents for all out-of-pocket expenses relative to their privately providing
occupational therapy services to Student from 10/25/07 through 10/26/08.
Sutton shall reimburse Parents for all out-of-pocket expenses relative to their consultation
sessions with Gregory Paquette during the time period from 10/27/08 to 10/26/09.” BSEA
Decision 09-7983 at p. 44.



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        (C)    Project Chilld Occupational Therapy
               (10/25/07-10/26/08)                 $2,395.00
               Travel (Lexington to Beverly):      $1,365.00 (51 days x 53 miles RT x .505)

        (D)    Gregory Paquette:                     $ 400.00

Total                                                $33,068.20

Attorney’s fees, as supported by the attached Affidavit at Exhibit B, are: $50,406.00.

                                                     Plaintiffs, by their attorney,


                                                      /s/ David R. Bohanan
                                                     David R. Bohanan
                                                     BBO # 556401
                                                     P.O. Box 562
                                                     286 Boston Road
                                                     Sutton, MA 01590
                                                     (774) 641-1767

5/28/13




                                   CERTIFICATE OF SERVICE

I, hereby certify that this document filed through the ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on this 28th day of May, 2013.


                                                              /s/ David R. Bohanan
                                                             David R. Bohanan




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